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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
  - - - - - - - - - - - - - - - -                                     X

  UNITED STATES OF AMERICA

                       - v. -                                                UNSEALING ORDER

  ROBERT BALEY , et al. ,                                                    S4 20 Cr . 57     (GBD)

                           Defendants .

  -   -    -   -   -   -   -   -   -   -   -   -   -   -   -   -      X



          Upon the application of the United States of America, by and

through Assistant United States Attorney Peter J .                                      Davis ,        it is

hereby         ORDERED         that        Superseding              Indictment S4   20 Cr . 57     (GBD) ,

which was filed under seal on October 13 , 2020 , is unsealed.


SO ORDERED .

Dated:         New York , New York
               October 15, 2020



                                                                   HONORABLE < J ! : ~ A V E
                                                                   UNITED STATES MAGISTARTE JUDGE
